                                             Case 2:23-cv-00837-RFB-BNW Document 10 Filed 07/20/23 Page 1 of 2



                                         1   John Bragonje, Bar No. 9519
                                             jbragonje@lewisroca.com
                                         2   Chad D. Olsen, Bar No. 12060
                                             colsen@lewisroca.com
                                         3   LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                             3993 Howard Hughes Parkway, Suite 600
                                         4   Las Vegas, NV 89169
                                             Tel: 702.949.8200
                                         5   Fax: 702.949.8398

                                         6   Attorneys for Defendant Duane Bennett Parnham

                                         7
                                                                          UNITED STATES DISTRICT COURT
                                         8                                        DISTRICT OF NEVADA
                                         9
                                             RB VENTURE PARTNERS LLC, a Nevada                  Case No.: 2:23-cv-00837-RFB-BNW
3993 Howard Hughes Parkway, Suite 600




                                        10   limited-liability company,

                                        11                       Plaintiff,                     STIPULATION TO EXTEND TIME TO
                                                                                                RESPOND TO PLAINTIFF’S COMPLAINT
                                        12   vs.
                                             DUANE BENNETT PARNHAM, an
Las Vegas, NV 89169




                                        13   individual; and DOES 1 through 10, inclusive, (Second Request)
                                        14                       Defendants.
                                        15

                                        16            Plaintiff RB Venture Partners LLC and Defendant Duane Bennett Parnham stipulate to

                                        17   extend the deadline for defendant to respond to plaintiff’s complaint by an additional 28 days.

                                        18   Specifically, the parties agree that the deadline to respond to plaintiff’s complaint (ECF No. 5)

                                        19   should be continued to August 23, 2023.

                                        20            This is the second request for an extension of time to respond to plaintiff’s complaint. The

                                        21   first request, which was granted and extended the deadline by two weeks, to July 26, 2023 (see

                                        22   ECF No. 8), provided defendant with needed time to investigate plaintiff’s allegations. This

                                        23   second request is to allow the parties time to explore potential settlement before litigation

                                        24   proceeds.

                                        25   ///

                                        26   ///

                                        27   ///

                                        28   ///




                                             121836616.1
                                             Case 2:23-cv-00837-RFB-BNW Document 10 Filed 07/20/23 Page 2 of 2



                                         1            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                         2   Dated this 19th day of July 2023.           Dated this 19th day of July 2023.
                                         3   LEWIS ROCA ROTHGERBER CHRISTIE              WOLF, RIFKIN, SHAPIRO, SCHULMAN
                                             LLP                                         & RABKIN, LLP
                                         4

                                         5   /s/ Chad D. Olsen                           /s/ John Samberg
                                             John Bragonje, NV Bar No. 9519              John Samberg, NV Bar No. 10828
                                         6   Chad D. Olsen, NV Bar No. 12060             Royi Moas, NV Bar No. 10686
                                             3993 Howard Hughes Parkway, Suite 600       Daniel Bravo, NV Bar No. 13078
                                         7   Las Vegas, Nevada 89169                     3773 Howard Hughes Parkway, Suite 590
                                             (702) 949-8200                              Las Vegas, Nevada 89169
                                         8                                               (702) 341-5200
                                             Attorneys for Defendant Duane Bennett
                                         9   Parnham                                     Attorneys for Plaintiff RB Venture Partners
                                                                                         LLC
3993 Howard Hughes Parkway, Suite 600




                                        10

                                        11
                                                                                     IT IS SO ORDERED:
                                        12
Las Vegas, NV 89169




                                        13

                                        14                                           UNITED STATES MAGISTRATE JUDGE
                                        15
                                                                                     DATED: July 20, 2023
                                        16

                                        17

                                        18

                                        19

                                        20

                                        21

                                        22

                                        23

                                        24

                                        25

                                        26

                                        27

                                        28


                                                                                      -2-
                                             121836616.1
